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                              UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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  12   JOHN DUNICAN, an individual,              Case No.: CV 17-1989−DMG (AJWx)
  13                Plaintiff,
                                                 ORDER RE STIPULATION FOR
  14         vs.                                 DISMISSAL WITH PREJUDICE
                                                 [13]
  15
       HARLEY-DAVIDSON CREDIT
  16   CORP., a Nevada Corporation; and
       DOES 1 - 10,
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                    Defendant(s).
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  20         Upon review of the Stipulation for Dismissal with Prejudice of Harley
  21   Davidson Credit Corp, filed by Plaintiff John Dunican and Defendant Harley-
  22   Davidson Credit Corp and good cause appearing,
  23         IT IS ORDERED that the Stipulation is APPROVED. The above-entitled
  24   matter is hereby dismissed with prejudice, with the parties to bear their own costs
  25   and attorney’s fees.
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       DATED: December 18, 2017
  27                                            DOLLY M. GEE
                                                UNITED STATES DISTRICT JUDGE
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